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         Exhibit 5
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                                                       U.S. Department of Justice

                                                       Matthew M. Graves
                                                       United States Attorney

                                                       District of Columbia

                                                       Patrick Henry Building
                                                       601 D Street, N.W.
                                                       Washington, D.C. 20530


                                                       June 12, 2023

BY E-MAIL
Tor Ekeland, Esq.
Michael Hassard, Esq.
TOR EKELAND LAW PLLC
30 Wall Street
8th Floor
Brooklyn, NY 10005

       Re:      United States v. Roman Sterlingov
                Case No. 21-cr-399 (RDM)

Dear Counsel:

        We are writing in response to your email dated June 5, 2023, requesting the complete Mt.
Gox database. We note that the government has previously produced working and evidentiary
copies of the Mt. Gox records which pertain to Mr. Sterlingov and Bitcoin Fog, as well as the
certifications detailing the official transfer of the database from Japanese authorities to the
United States. As you are aware, the full Mt. Gox database encompasses voluminous third-party
financial records, including third-party individuals’ personal information, financial information,
identification information, and other sensitive personal information, which are not relevant to
Mr. Sterlingov’s case. We dispute your characterization of such records as Brady. However, the
government will make an image of the hard drive provided by Japanese authorities and
containing the Mt. Gox database available for the defense review at the Federal Bureau of
Investigation Washington Field Office, Northern Virginia Resident Agency in Manassas,
Virginia. Personnel seeking to review the materials will need to be cleared into FBI space; we
understand that Mr. Fischbach is familiar with this process from his prior work. Please contact
us to set up an appointment if needed.

       Please note that the Mt. Gox database and its contents — apart from Mr. Sterlingov’s
records which have been separately produced — are designated as Sensitive pursuant to the
terms of the protective order entered in this case, ECF No. 18, and may not be publicly
disseminated or discussed.
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                       Sincerely,

                       /s/ Christopher B. Brown
                       Christopher B. Brown, Assistant United States Attorney
                       C. Alden Pelker, Trial Attorney, U.S. Department of Justice
                         Computer Crime & Intellectual Property Section




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